       Case 4:10-cr-00018-JLK                Document 159 Filed 03/23/15                Page 1 of 1        Pageid#:
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%AO247(02/08)OrderRegardi
                        ngMotionforSentenceReduction                                                                                 je
                                 U NITED STATES D ISTRICT COURT '                                         A4>4#k)w,
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                                                 W estern DistrictofVirginia                            uujw       '
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                  United StatesofAmerica                                                                  D            c K
                              V.
                     GILBERTO CUEN                              CaseNo: 4:10cr00018-002
                                                                USM No:15594-084
Date ofPreviousJudgm ent:           05/02/2011
(UseDateofLastAmendedJudgmentifApplicable)                      Defendant'sAttorney

                OrderRegardingM otion forSentenceReductionPursuantto18U.S.C.j3582(c)(2)
        Uponmotionof IZ thedefendantr.-
                                      1theDirectoroftheBureauofPrisonsU1thecourtunder18U.S.C.
j3582(($(2)forareduction intheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered and maderetroactiveby theUnited StatesSentencing Comm ission pursuantto 28U.S.C.
â994(u),andhavingconsideredsuchmotion,
IT IS O RDERED thatthe motion is:
       Z DENIED. U1GRANTEDandthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                           theIastjudgmentissued)of                        monthsisreduced to                                   .
1. COURT DETERM INATION OF GUIDELINE M NGE (PriortoAnyDepartures)
PreviousOffenseLevel:                     Am ended OffenseLevel:
CriminalHistory Category:                 Crim inalHistory Category:
PreviousGuideline Range:   to     months  Am ended Guideline Range:                                        to              m onths
II. SENTENCE RELATW E TO AM ENDED GUIDELINE M NGE
r-lThereducedsentenceiswithintheamendedguidelinerange.
N tTheprevioustenuofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofa departureorRule35reduction,andthereduced sentence iscomparably lessthan the
   nmended guidelinerange.
U.
 11Other(explai
              n):



111.ADDITIONAL COM M ENTS
    Because Defendantwassentenced to the minimum period ofincarceration permi
                                                                            tted by statute,no reducti
                                                                                                     on is
    authorized.


Exceptasprovidedabove,a provisionsofthejudgmentdated 05/02/2011 shallremain ineffect.
IT IS SO ORDE         D.

OrderD ate.              w            -                                                         '
                                                                                      Judge'ssignamre

Effective Date:                                                      On.Jackson L.Kjser,SeniorU.S.DistrictJudge
                   (ifdifferentfrom orderdate)                                   Printednameandtitle
